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UNITED STATES DISTRICT COURT FOR THE | 1 A npn
SOUTHERN DISTRICT OF WEST VIRGINIA pL
HUNTINGTON GRAND JURY 2019 ee
JULY 14, 2020 SESSION sutho lS, Dist

UNITED STATES OF AMERICA

=, CRIMINAL No. 3 AO-Cr- OD|\\
18 U.S.C. § 875(c)

SILAS THORNTON KING

INDICTMENT

(Interstate Communications Containing Threat to Injure Person)

The Grand Jury Charges:

On or about June 28, 2020, at or near Milton, Cabell County,
West Virginia, and within the Southern District of West Virginia,
defendant SILAS THORNTON KING knowingly and willfully did transmit
in interstate commerce an electronic communication using Snapchat,
an electronic messaging application that uses interstate
communication facilities, that defendant intended and _ knew
contained a threat to injure the person of another.

In violation of Title 18, United States Code, Section 875(c).

MICHAEL B. STUART
United States Attorney

     

By:
~  CREMEANS
Assistant United States Attorney
